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                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
                            SAN JOSE DIVISION
                                  Honorable Edward J. Davila
                                    Courtroom 4 - 5th Floor

                   TITLE: USA v. ELIZABETH HOLMES
                    CASE NUMBER: 18-cr-00258-EJD-1
                                 Minute Order and Trial Log
Date: 12/17/2021
Time in Court: 8:36am-9:03am,9:14,11:20,11:56am-12:31pm,12:48-1:57,2:34-3:42,
3:53pm-4:49pm
(TOTAL time: 6 Hrs. 21 mins.)
Courtroom Deputy Clerk: Adriana M. Kratzmann
Court Reporter: Irene Rodriguez
______________________________________________________________________________
APPEARANCES:
Plaintiff Attorney(s) present: Jeffrey Schenk, John Bostic, Robert Leach, Kelly Volkar
Also present: Agent: Adelaida Hernandez
Defendant Attorney(s) present: Kevin Downey, Lance Wade, Katherine (Katie) Trefz, Andrew
Lemens, John Cline, Patrick Looby, Amy Saharia
Also present: Elizabeth Holmes (Out-custody)
______________________________________________________________________________
PROCEEDINGS: Jury Trial (Day 46)

Further Jury Trial held. Closing arguments held. Further Jury Trial scheduled for Monday,
December 20, 2021 at 8:30 a.m. Jury deliberations begin

Please see trial log attached.

The following exhibits are marked for IDENTIFICATION:
Plaintiffs: N/A
Defendants: N/A


The following exhibits are ADMITTED into evidence:
Plaintiffs: N/A
Defendants: N/A
///


                                                                                      Adriana M. Kratzmann
                                                                                          Courtroom Deputy
                                                                                           Original: E-Filed
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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA

                           HONORABLE EDWARD J. DAVILA

                           Case Name: USA v. Elizabeth Holmes
                                Case No: 5:18cr00258EJD-1

                                      TRIAL LOG

TRIAL DATE:                       REPORTER(S):                       CLERK:
December 17, 2021                 Irene Rodriguez                    Adriana M. Kratzmann

PLF     DEFT        TIME     DESCRIPTION


                8:36am       Court in session Counsel and Defendant present outside presence of
                             Jury
                             Court speaks with Counsel re clarification of an issue

                9:03 am      Court takes recess

                9:14 am      Court in session Counsel and Defendant present. Jury seated.

                9:15 am      Defense Counsel Kevin Downey resumes closing arguments

                11:15 am     Jury excused for the recess

                11:20 am     Court takes recess 30 mins.

                11:56 am     Court in session Counsel and Defendant present. Jury seated.

                11:56 am     Defense Counsel Kevin Downey resumes closing arguments

                12:31 pm     Defense closing arguments concludes

                12:31 pm     Court takes recess 15 mins

                12:48 pm     Government Counsel John Bostic begins rebuttal closing arguments

                1:57 pm      Court takes recess 30 mins

                2:34 pm      Court in session Counsel and Defendant present. Jury seated.

                2:34 pm      Government Counsel John Bostic resumes rebuttal closing arguments

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TRIAL DATE:                     REPORTER(S):                            CLERK:
December 17, 2021               Irene Rodriguez                         Adriana M. Kratzmann

PLF     DEFT        TIME   DESCRIPTION


                3:41 pm    Government rebuttal arguments concludes

                3:42 pm    Court takes recess 7 mins.

                3:53 pm    Court in session Counsel and Defendant present. Jury seated.

                3:53 pm    Court reads final instructions to the Jury

                4:42 pm    Court re-reads an instruction to the Jury

                4:42 pm    Court security officer sworn

                4:43 pm    Court security officer escorts Jury to jury room

                4:43 pm    Court in session outside Counsel and Defendant present outside
                           presence of Jury and the Court addresses the alternate jurors
                           Court admonishes and informs the alternate jurors to be on standby

                4:44 pm    Court addresses Counsel re house keeping matters

                4:49 pm    Court adjourns for the day

                           Further Jury Trial scheduled for Monday, December 20, 2021 at 8:30
                           am - Jury deliberations begin




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